                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


 ADIDAS AMERICA, INC., an Oregon
 corporation; and ADIDAS AG, a foreign
 entity,
                                                 Civil Action No. 1:21-cv-05615-JSR-RWL
         Plaintiffs,

 v.

 THOM BROWNE, INC., a Delaware
 corporation,

         Defendant.



                        CORRECTED NOTICE OF CROSS-APPEAL

       Pursuant to FRAP 4(a)(3), Defendant Thom Browne, Inc. (“Thom Browne”) hereby gives

notice of cross-appeal to the United States Court of Appeals for the Second Circuit from the

Order (ECF 85) dismissing Defendant’s counterclaim for invalidity based on aesthetic

functionality.

 Date: February 22, 2023                         /s/ Harley I. Lewin
                                                 Harley I. Lewin (HL-1819)
                                                 LEWINCONSULT, LLC
                                                 72 Commercial Street #5
                                                 Portland, Maine 04101
                                                 Harley@LewinConsult.com
                                                 207.805.6884 Phone

                                                 Robert T. Maldonado (RM-7873)
                                                 rmaldonado@wolfgreenfield.com
                                                 WOLF, GREENFIELD & SACKS, P.C.
                                                 605 Third Avenue, 25th Floor
                                                 New York, New York 10158
                                                 212.697.7890 Phone
                                                 617.646.8646 Fax

                                                 Attorneys for Thom Browne, Inc.
                                CERTIFICATE OF SERVICE

        I certify that this document is being filed through the Court’s electronic filing system,
which serves counsel for other parties who are registered participants as identified on the Notice
of Electronic Filing (NEF). Any counsel for other parties who are not registered participants are
being served by first class mail on the date of electronic filing.


                                             /s/ Harley I. Lewin
